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                                                                               2024 Dec-18 PM 04:28
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION
 LEE MCGILBERRY,                         }
                                         }
       Plaintiff,                        }
                                         }   Case No.: 2:24-cv-01239-MHH
 v.                                      }
                                         }
 TRANS UNION LLC,                        }
                                         }
       Defendant.                        }


                            SCHEDULING ORDER

      This order is entered under Fed. R. Civ. P. 16(b) and governs further
proceedings in this action unless modified for good cause shown.

1.    Pleadings and Parties: No causes of action, defenses, or parties will be
      allowed after February 13, 2025, for plaintiff, and March 11, 2025, for
      defendant.

2.    Discovery limitations and deadlines:

      a.    Interrogatories: Max. 25 by any party directed to any other party;
            Doc. Requests:     Max. 40 by any party directed to any other party;
            Rule 36 Reqs:      Max. 40 by any party directed to any other party;
            Depositions:       Max. 3 by any party directed to any other party.
                               The parties must complete the depositions of all
                               named parties no later than July 11, 2025
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       b.      Expert Testimony: The disclosure of expert witnesses—including a
               complete report under Fed. R. Civ. P. 26(a)(2)(B) from any specially
               retained or employed expert—are due:
               From plaintiff:        by April 11, 2025.
               From defendant:        by May 12, 2025.
       c.      Deadline: Unless modified by court order for good cause shown, all
               discovery must be commenced in time to be completed by July 25,
               2025.
       d.      Discovery disputes: Before a party files a motion to compel, the Court
               directs counsel for that party to please confer with opposing counsel by
               telephone or video conference or in person to discuss disagreements
               regarding discovery requests. If the parties cannot resolve their dispute
               during the conference, then the parties may file a joint motion
               requesting a telephone or video conference to discuss the discovery
               dispute. The joint motion must contain a statement certifying that the
               parties discussed the discovery dispute and have been unable to resolve
               their disagreements. Upon receipt of the joint motion, the Court will
               set a telephone conference to discuss the discovery dispute and will
               determine whether additional written submissions are required to
               resolve the dispute.1
3.     Dispositive Motions: All potentially dispositive motions must be filed by
       August 25, 2025, and should be accompanied by a supporting brief.
4.     Dispositive Motion Briefing:
       Consistent with Rule 56 of the Federal Rules of Civil Procedure, a party may
       file a summary judgment motion any time before the summary judgment
       deadline. A party opposing a summary judgment may file a brief in opposition
       to the motion within 21 days. The moving party may file a reply brief 14 days
       later.
       For information about the format and length of briefs, please see Section VIII
       of the Initial Order in this case.

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   If an attorney makes a good faith effort but is unable to contact opposing counsel, then the
attorney may unilaterally file a motion requesting a discovery telephone conference. In such a
case, the moving party must describe in the motion the attorney’s efforts to contact and coordinate
with opposing counsel.
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          The parties should present the evidence related to a summary judgment
          motion in narrative format as they would in a brief to a court of appeals.
          Parties must support every factual assertion with a complete record citation.
          Summary judgment briefs must contain citations to the evidentiary
          record by CM/ECF document and page number. Therefore, the parties
          must electronically file their evidence before they file their summary
          judgment briefs. If a party cannot file evidence electronically before filing its
          brief, then the party shall, within three days of filing a brief, email to
          chambers (haikala_chambers@alnd.uscourts.gov) a Word version of the brief
          with CM/ECF record citations.2
          If a party relies on deposition testimony in a summary judgment brief, then
          the party must file the complete deposition transcript and all associated
          deposition exhibits. Parties should file all deposition exhibits associated with
          a single deponent as a single document. Citations to deposition exhibits
          should include the CM/ECF document and page number.
5.        Status Conference: A status conference near the close of discovery is
          scheduled in this matter on July 14, 2025, at 11:00 a.m., in Courtroom 4B,
          U.S. District Court, 1729 5th Avenue North, Birmingham, AL.
6.        Trial: Due dates for lists of trial witnesses, exhibits, and objections under
          Fed. R. Civ. P. 26(a)(3) shall be established in a separate pretrial order.

          DONE and ORDERED this December 18, 2024.


                                             _________________________________
                                             MADELINE HUGHES HAIKALA
                                             UNITED STATES DISTRICT JUDGE




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    The Court may alter this procedure for pro se litigants.
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